Plaintiff sustained an accident July 25, 1927. He received total disability compensation for a time, was then awarded partial permanent disability compensation, and the latter was commuted into a lump sum payment by order of June 25, 1929, and paid him by defendant. Thereafter plaintiff filed petitions for further compensation and awards denying his petitions were entered October 15, 1930, and April 19, 1932. The instant petition for further compensation was filed March 5, 1936 and was denied by the department of labor and industry. *Page 282 
The interesting questions presented by plaintiff need no discussion because the case resolves itself into the familiar proposition that the award is final because there was testimony which supported the express finding of the department that plaintiff had failed to show a change of his industrial physical condition since the award of 1932.
Affirmed.
NORTH, WIEST, BUTZEL, BUSHNELL, SHARPE, POTTER, and CHANDLER, JJ., concurred.